Case 4:17-cv-00454-GKF-JFJ            Document 90 Filed in USDC ND/OK on 07/03/18                     Page 1 of 1




                         UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA


   Video Gaming Technologies, Inc.,

                  Plaintiff(s),

   vs.                                                      Case Number: 17-cv-00454-GKF-JFJ

   Castle Hill Studios LLC, et al.,

                  Defendant(s).


                                SETTLEMENT CONFERENCE REPORT

          On 6/26/2018 a Settlement Conference was held in the captioned matter.

                  9       The litigation was settled; within _____ days of the
                          date hereof, the Plaintiff and Defendant shall file:

                           --     a Stipulation of Dismissal
                                  OR
                           --     Agreed Judgment and
                                  Motion to Enter Agreed Judgment

                  X       The litigation was not settled.


                  9       Settlement negotiations are pending. The parties are to phone the
                          undersigned by _: ___ p.m. on ________________, 2018.


   DATED: 7/3/2018


                                                 Frank H. McCarthy
                                                 U.S. Magistrate Judge




                                                                          Settlement Confernce Report (SC-03 10/10)
